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IN THE UNITED STATES DISTRICT COURT

 

M FoR THE WESTERN DISTRICT oF TENNESSEE
\~j EASTERN DIVISIoN
/}'f /;“/cb/ `*’-/
UNITED sTATEs or AMERICA, "‘YY/ “'?’
Ptaintirr,
vs. Cr. N@. 04_10062_T
MICHAEL JACKsoN, /
Defendant.

/,.

MOTION TO ALLOW DEFENDANT 90 DAYS lN WH] TO REPORT

 

 
     
     
    
     
     
   
 
  
 

COMES NOW the defendant herein by and through pointed counsel, and moves this
Honorable Court to allow Det`endan_t no less than 90 da in which to report for service of his
sentence ln support of this motion Defendant woul

l. Defendant is currently employed an ` attempting to pay on outstanding accounts which
Defendant has. As Det`eudant faces a sub tial custodial Sentence he is attempting to address such
accounts before he reports for ser ` e of sentence

2. Defendant will co inue to report to U.S. Pretrial Services as prior directed until service

of his sentence begins

`,2005.
5 _
MOT|ON GRANTED
DATE: 5'h

»"¥"_ § :{:;Thls document entered on the docket sheet ln oompl|aneo

**“"§:- -- with Ru|e 55 and/or 32(b) FRCrP on w b '
James D Todd

U.s. otsmci Judge %©

 

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w lt w§l/"‘
M. Dianne smothés [0118'74]
Assistant Federal Defender

109 S. Highland Ave., an. B-S
Jackson, TN 38301

('731) 427-2556

CERT]FICATE ()F SERVICE

The undersigned hereby certifies that a true and exact copy of the foregoing was served upon
all interested parties by either hand delivery or by mailing same, postage prepaid to the following

Mr. James Powell

Assistant United States Attorney
109 South Highland, Suite 300
Jackson, Tennessee, 3830]

This the z § day of&§§§___, § \t
¥\ \m/\,L e//*`\\

M. Dianne Smotliers

 

l ISTRIC COUR - wEsERNT D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 80 in
case l:04-CR-10062 was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

